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VIA ECF
The Honorable Steven C. Mannion, U.S.M.J.
Martin Luther King Jr. Bldg. & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07101

        Re:      ACP GP, LLC, et al. v. United Home Care, Inc., et al.
                 Docket No. 2:18-cv-08786

Dear Judge Mannion:

        This firm represents plaintiffs ACP GP, LLC and Alleon Capital Partners, LLC in the
above-referenced matter. We write to request that the settlement conference currently scheduled
to be held on Thursday, June 25 at 11:30 a.m. be converted to a status conference. Counsel for
defendants Charles Gardner, Charlie Simpson, and John D. Jones consent to this request.

      If this request should meet with the Court’s approval, we respectfully request that Your
Honor So Order this letter and have it entered on the docket.

       We thank the Court for its attention to this matter. If Your Honor or Your Honor’s staff
should have any questions or require anything further, we are always available.


                                            Respectfully submitted,

                                            s/ Stephen V. Falanga
                                            Stephen V. Falanga


CC: All counsel of record (via ECF)
